OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Western District of North Carolina

                   United States of America                            )
                              v.                                       )
                                                                       )   Case No: 3:02CR152-4
                    CHARLES LEE BROW N
                                                                       )   USM No: 19074-058
Date of Previous Judgment: October 15, 2002                            )   D. Baker McIntyre, III
(Use Date of Last Amended Judgment if Applicable)                      )   Defendant’s Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 135           months is reduced to 120 months in Count 1 .
I. COURT DETERM INATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:              37                                    Amended Offense Level:          25
Criminal History Category:           II                                    Criminal History Category:      II
Previous Guideline Range:            235        to 168      months         Amended Guideline Range:        188       to 235   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):   While Defendant is eligible for a reduction of up to 107 months, the Court finds based on the nature
                     and circumstances of the offense and the history and characteristics of the Defendant that an
                     amended sentence of 120 months is the minimal sentence sufficient to accomplish the objectives of
                     sentencing (18 U.S.C. § 3553(a)). This amended sentence for Count One does not affect the
                     sentence previously imposed in Count Eleven regarding violation of 18 U.S.C. § 924(c).
III. ADDITIONAL COMMENTS
Upon release from imprisonment, and absent a residential plan accepted by the U.S. Probation Officer prior to release
from incarceration, it is ordered that as a condition of supervised release the defendant shall submit to the local
Residential Reentry Center for a period not to exceed 90 days, with work release, at the direction of the U.S. Probation


Except as provided above, all provisions of the judgment dated October 15, 2002                   shall remain in effect.
IT IS SO ORDERED.

Order Date:        April 27, 2009


Effective Date:
                     (if different from order date)



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